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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
  ____________________________________________
                                               :
  UMB BANK, N.A., as Plan Trustee of           : Case No. 9:19-cv-80074
  The Limited Creditors’ Liquidating Trust,    :
                                               :
         Plaintiff,                            :
                                               :
  v.                                           : District Judge Rosenberg
                                               : Magistrate Judge Reinhart
  SUN CAPITAL PARTNERS V, LP;                  :
  SUN MOD FASHIONS IV, LLC;                    :
  SUN MOD FASHIONS V, LLC; and                 :
  H.I.G. SUN PARTNERS, LLC                     :
                                               :
         Defendants.                           :
  ____________________________________________ :



                       PLAINTIFF’S OPPOSITION TO
               DEFENDANTS’ JOINT MOTION TO TRANSFER VENUE




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         Plaintiff, UMB Bank, National Association (the “Trustee”), in its capacity as the Plan

  Trustee of The Limited Creditors’ Liquidating Trust (the “Trust”), submits this response to the

  Motion to Transfer Venue filed by Defendants Sun Capital Partners V, LP, Sun Mod Fashions IV,

  LLC, Sun Mod Fashions V, LLC, and H.I.G. Sun Partners, LLC (“Defendants”), and respectfully

  states as follows.

                                          INTRODUCTION

         Defendants have not moved to transfer this case to Delaware out of any concern for the

  “convenience of the parties” or any identifiable “interest of justice.” Indeed, this is their home

  court—i.e., Defendants are headquartered in this District. Defendants also fail to identify any facts

  that reasonably support their conclusion that the interests of justice—such as a more efficient

  resolution of this dispute—require a transfer. Nevertheless, in a transparent attempt to forum shop,

  Defendants seek to move this case out of their own backyard to a jurisdiction hundreds of miles

  away. This Court should not sanction their blatant and improper attempt to cause delay and gain a

  perceived litigation advantage.

         Because a transfer to Delaware is not in the interest of justice or more convenient for

  anyone, Defendants advance arguments based upon gross mischaracterizations of the law and

  irrelevant facts. When such facts are disregarded and the law is properly applied, Defendants’

  motion boils down to a single fact: this case—a fraudulent transfer action brought by a post-

  confirmation liquidation trustee—arises under the Bankruptcy Code. Although the Trustee

  acknowledges that filing a claim that arises under chapter 5 of the Bankruptcy Code outside of the

  home bankruptcy court is relatively rare, doing so is not improper, inconvenient, or necessarily

  inefficient. And it certainly does not necessitate a transfer. This fact—the sole factor that could

  conceivably support transferring this case—does not satisfy Defendants’ burden. In stark contrast



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  to the cases that Defendants cite in support of their motion, this case (1) was not filed by the debtor

  or a chapter 11 or chapter 7 bankruptcy trustee; (2) is not governed by the substantive law of the

  transferee state; (3) does not include a single resident of the transferee state as a party or a witness;

  (4) does not involve any substantive issues currently pending before the transferee court; and (5)

  is not related to any case pending before the transferee court.

          Rather, this case was filed by a liquidation trustee, located in Missouri (not Delaware),

  against Defendants in their home district. This case was also filed after the confirmation of a plan

  that granted the Trustee broad powers and authority to administer the estate for the benefit of the

  creditors without the need for further approval by the bankruptcy court. The Trustee, who is now

  responsible for administering the estate, chose to file this case in this district and Defendants have

  not identified any evidence that transferring this case to Delaware would benefit the estate or

  otherwise allow the Trustee to more cheaply or easily administer it. When presented with similar

  facts, courts generally deny motions to transfer the case out of the District in which the defendants

  reside. Moreover, here the bankruptcy judge presiding over the debtors’ bankruptcy case is retiring

  in August. Thus, any minor efficiencies that might otherwise be gained through a passing

  familiarity with general facts about the debtors’ bankruptcy proceedings would be lost before

  Defendants’ motion to dismiss could even be decided. Put simply, in this case, there are no

  efficiencies, judicial or otherwise, to be gained by a transfer. For each of these reasons and those

  described herein, the Trustee respectfully requests that the Court grant deference to the Trustee’s

  choice of forum and deny Defendants’ motion to transfer.




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                                          BACKGROUND
  A.     SUMMARY OF THE TRUSTEE’S CLAIMS

         The Trustee is the bankruptcy plan representative of the claims, including chapter 5 claims,

  of the bankruptcy estate of various Debtors that owned or operated a women’s apparel brand, The

  Limited.1 (Original Complaint, D.E. 1 (“Complaint”) ¶¶ 6–11). The Trustee’s claims against

  Defendants arise out of an over $42 million dividend recap transaction whereby Defendants

  extracted all the remaining value out of the Debtors, rendered them insolvent, and doomed them

  to failure. (Id. ¶ 1). Through this action, the Trustee seeks to avoid and recover the transfers

  received by Defendants through this transaction as fraudulent under 11 U.S.C. §§ 544 and 550 and

  applicable state law. (Id. ¶¶ 58–73).

  B.     THE LIMITED’S INEVITABLE COLLAPSE

         The Limited peaked in the late 1980’s and went into a fifteen-year downward spiral of

  continuous losses and store closings beginning in the 1990’s. (Id. ¶¶ 21–25). Sun Capital Partners,

  Inc. (“Sun Capital”), a private equity firm, effectively acquired a 100% interest in the Debtors and

  The Limited business by mid-2010 after parking $50 million as a capital contribution in 2007 and

  then taking that money back out through a distribution in February 2010. (Id. ¶¶ 1, 3, 27-31, &

  34). By June 2010, “Sun Capital effectively had no skin in the game” yet still maintained 100%

  ownership of the Debtors. (Id. ¶ 30).

         By 2011, Sun Capital knew that The Limited had no real future due to its dismal past and

  the evolving marketplace, as retail shoppers left brick-and-mortar stores in droves in favor of

  online retailers. (Id. ¶¶ 34–38). Thus, Sun Capital and its hand-picked management developed a


  1
    The relevant debtors are LSC Wind Down, LLC (f/k/a Limited Stores Company, LLC), LS Wind Down,
  LLC (f/k/a Limited Stores, LLC), and TLSGC Wind Down, LLC (f/k/a The Limited Stores GC, LLC)
  (collectively, the “Debtors”).


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  scheme to suck all value out of the company by scrounging up available cash and borrowing money

  in order to transfer over $42 million (the “Transfer”) to Sun Capital. (Id. ¶¶ 39–43). The Transfer

  was sent from a Florida bank account to the Florida bank accounts of Florida-based entities.2

            The Transfer rendered the Debtors insolvent and doomed them to fail. (Id. ¶¶ 44–57). The

  Debtors received absolutely nothing in exchange, except suffocating debt obligations. (Id. ¶ 64).

  Ultimately, the Debtors filed for bankruptcy, at which time the Debtors had hundreds of creditors

  who collectively asserted over $150 million in general unsecured claims against the Debtors. (Id.

  ¶¶ 56–57). These creditors include service providers and vendors, clothing manufacturers,

  shopping malls, local municipalities, and state taxing authorities who were left holding an empty

  bag after Sun Capital enriched itself. (Id. ¶ 57).

  C.        THE LIMITED BANKRUPTCY AND FORMATION OF THE TRUST

            On January 17, 2017 (the “Petition Date”), each of the Debtors filed a voluntary petition

  for relief under chapter 11 of the Bankruptcy Code in the U.S. Bankruptcy Court for the District

  of Delaware (the “Delaware Bankruptcy Court”). The Debtors’ chapter 11 cases were consolidated

  for procedural purposes and jointly administered in In re LSC Wind Down, LLC f/k/a Limited

  Stores Company, LLC, Case No. 17-10124 (the “Bankruptcy Case”). Less than a year later, the

  Delaware Bankruptcy Court entered an order confirming the Second Modified Joint Chapter 11

  Plan of Liquidation of LSC Wind Down, LLC f/k/a Limited Stores Company, LLC and Its Debtor

  Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”).

            The Trust was created pursuant to the Plan, and the Debtors’ creditors became its

  beneficiaries.3 Upon its formation, all remaining assets of the Debtors’ estates were irrevocably


  2
      See The Limited Flow of Funds Memorandum (Schwegmann Decl. Ex. A).
  3
      See Plan, Art. 6.1(a) (Schwegmann Decl. Ex. B).


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  transferred to the Trust.4 The Trust was established to, among other things, liquidate the Trust

  assets, including the prosecution of the claims asserted here, for the benefit of the Trust

  beneficiaries and to generally administer all aspects of what remained of the Debtors’ estate.5 The

  Plan also granted the Trustee the broad authority to administer the estate without the need for

  further Bankruptcy Court approval.6 In short, the Delaware Bankruptcy Court empowered the

  Trustee with the authority and duty to maximize the value of the Trust for the benefit of the

  Debtors’ creditors. The Trustee filed this action in this Court in fulfillment of that duty.

  D.         PARTIES TO THIS ACTION

             There are only five parties to this case. The plaintiff Trustee is a national bank with its

  headquarters located in Kansas City, Missouri. (Complaint ¶ 6). Each Defendant was a recipient

  of the fraudulent transfers the Trustee seeks to avoid. Defendants Sun Mod Fashions IV, LLC, Sun

  Mod Fashions V, LLC, and H.I.G. Sun Partners, LLC are limited liability companies with their

  principal places of business located in Boca Raton, Florida. (Id. ¶¶ 12–14). Defendant Sun Capital

  Partners V, LP is a Cayman limited partnership with its principal place of business also located in

  Boca Raton, Florida. (Id. ¶ 15). Although Defendants stress that three of them are Delaware

  entities, they have not identified a single office or relevant employee that is located there. Finally,

  although not a party to this case, all Defendants are affiliated with, owned, or controlled by Sun

  Capital, which also maintains its principal place of business in Boca Raton, Florida (Mot. at 14).




  4
      Id.
  5
      Id. at Art. 6.1(b).
  6
   Id. at Art. 6.1(c) (enumerating the Trustee’s authority to administer the Debtors’ estates, including the
  authority to “enforce, collect, compromise, [or] settle . . . all Causes of Action . . . free of any restrictions
  of the Bankruptcy Code or the Bankruptcy Rules”).


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           Despite Defendants’ misguided attempts to argue otherwise, The Limited’s creditors are

   not the “real party-in-interest” in this case. (Mot. at 6). Indeed, pursuant to Federal Rule of Civil

   Procedure 17(a)(1)(G), the Trustee is indisputably the real party in interest.7 Furthermore, the

   Trustee does not bring this action on behalf of the 121 unsecured creditors listed on Exhibit A to

   the Complaint as Defendants mistakenly allege. (Mot. at 6). The Trustee is not pursuing creditor

   claims, but rather, estate claims pursuant to 11 U.S.C. § 544(b). The 121 unsecured creditors

   Defendants refer to are the “predicate creditors” that could have avoided the transfers at issue as

   of the Petition Date. (Complaint ¶ 66–67). Their names were included in the Complaint for no

   other reason than to ensure the Complaint satisfied the pleading requirements of § 544(b). Because

   they are not parties to this case, each of the facts Defendants set forth regarding these creditors is

   completely irrelevant and an obvious attempt to mislead this Court.

                                                 ARGUMENT
   A.      DEFENDANTS MUST SHOW THAT A TRANSFER WOULD SERVE THE
           “INTEREST OF JUSTICE” OR “CONVENIENCE OF THE PARTIES”

           Defendants’ motion to transfer venue is governed by 28 U.S.C. § 1412.8 Section 1412

   permits the Court to transfer a case or proceeding under title 11 to another district “in the interest

   of justice or for the convenience of the parties.” But when exercising this authority, courts “must




   7
    See, e.g., First Bank of Dalton v. Manton Family P’ship, LLP (In re Manton), 585 B.R. 630, 636 (Bankr.
   N.D. Ga. 2018) (holding that a bankruptcy trustee was the real party in interest to a fraudulent transfer
   action pursuant to Federal Rule of Civil Procedure 17(a)(1)(G), Federal Rule of Bankruptcy Procedure
   7017, and 11 U.S.C. §§ 544, 548).
   8
     Defendants also moved to transfer this case under 28 U.S.C. § 1404(a). (Mot. at 16). The multi-factor
   analyses under sections 1412 and 1404(a) are largely the same. See, e.g., Holmes v. Grubman (In re
   Holmes), 306 B.R. 11, 14 (Bankr. M.D. Ga. 2004) (“The statutory language of sections 1404 and 1412 are
   similar and courts apply the same basic factors when considering motions to transfer under either section.”).
   Thus, to the extent this Court denies the motion under section 1412, it should also do so under section
   1404(a).


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   act with caution.”9 “[T]he party requesting the transfer of venue must demonstrate by a

   preponderance of the evidence that in light of all the factors to be considered, it will be more

   convenient for [the] parties [or] will further the interest of justice.”10 “Absent such a showing, [the

   Court should] not disturb the choice of forum made by [the] plaintiff, which choice should be

   accorded great deference.”11 Furthermore, while normally there is a presumption that venue is

   most proper in the court in which debtor’s bankruptcy case is pending, under certain circumstances

   a transfer to that venue may be inappropriate.12 Thus, the Court must consider both convenience

   and fairness on a case-by-case basis.13

              Although the courts have articulated the multi-factor test for motions brought under section

   1412 in various ways, courts generally consider both “interest of justice” factors and “convenience

   of the parties” factors when deciding whether a transfer of venue is appropriate. The “interest of

   justice” factors that are potentially relevant here include:

              (1) Plaintiff’s original choice of forum;
              (2) The efficient administration of the bankruptcy estate, taking into consideration the
                  interests of judicial economy, timeliness, and fairness;
              (3) The local interest in having localized controversies decided at home;
              (4) A trial in the state the law of which will govern the action;
              (5) Ability to receive a fair trial;
              (6) The enforceability of any judgement rendered; and
              (7) The presumption in favor of the home bankruptcy court.14




   9
       Unico Holdings, Inc. v. Nutramax Prods., Inc., 264 B.R. 779, 783 (Bankr. S.D. Fla. 2001).
   10
     Taca Int’l Airlines, S.A. v. Pan Am World Airways, Inc. (In re Pan Am Corp.), 177 B.R. 1014, 1018
   (Bankr. S.D. Fla. 1995).
   11
        Id.
   12
        Unico, 264 B.R. at 783.
   13
        Id.
   14
     See, e.g., id.; A.B. Real Estate, Inc., v. Bruno’s Inc. (In re Bruno’s, Inc.), 227 B.R. 311, 324–25 (Bankr.
   N.D. Ala. 1998).


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              The factors courts consider when evaluating whether a transfer would be more convenient

   for the parties include:

              (1)   Location of plaintiff and defendants;
              (2)   Ease of access to necessary proof;
              (3)   Convenience of witnesses;
              (4)   The availability of compulsory process for attendance of unwilling witnesses; and
              (5)   The cost of obtaining the attendance of witnesses.15

              As detailed below, Defendants have failed to meet their burden under both of these multi-

   factor balancing tests. As such, the Trustee respectfully requests the Court deny Defendants’

   motion to transfer.

   B.         A TRANSFER WOULD NOT SERVE THE “INTERESTS OF JUSTICE”

              Defendants cannot satisfy their burden to demonstrate that transferring this case to

   Delaware would be in the interests of justice. Each of the following factors decidedly weigh against

   a transfer: (1) plaintiff’s choice of forum; (2) the localized interests of the respective courts; and

   (3) choice-of-law considerations. The remaining factors, including the general presumption in

   favor of the home bankruptcy court, are at best neutral and, thus, do not support Defendants’

   motion.

                    1. The Court Should Defer to Plaintiff’s Choice of Forum.

              The factor that weighs most heavily against a transfer is the fact that Plaintiff chose this

   forum. The Eleventh Circuit has recognized that “the plaintiff’s choice of forum should not be

   disturbed unless it is clearly outweighed by other considerations.”16 The rationale for giving the

   plaintiff’s choice of forum substantial deference is that, unlike forum shopping by a defendant, a

   plaintiff’s “forum shopping is not an evil to be avoided, but rather is an inherent part of our federal


   15
        In re Bruno’s, Inc., 227 B.R. at 325 (collecting cases).
   16
        Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253, 260 (11th Cir. 1996).


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   court network.”17 The power of federal plaintiffs to forum shop was firmly established by the

   Supreme Court in Ferens v. John Deere Co.18 Relying on Ferens, courts have specifically

   recognized that a plaintiff has “every right” to file suit in a jurisdiction of its choosing:

             A plaintiff may have available numerous places of equal convenience to bring his
             or her suit, and has every right to file in the forum that is most geographically
             convenient or that has most favorable law. The fact that the plaintiffs have some
             flexibility to shop for law or location encourages them to use the judicial system
             for their disputes. Having chosen a forum, a plaintiff would lose any advantage if
             the defendant were able—by scarcely overcoming the plaintiff’s choice—to pull
             the well-placed procedural rug from under the plaintiff’s feet.19

             The Trustee admittedly chose this forum, and not the Delaware Bankruptcy Court, for both

   practical (e.g., ease and cost of travel) and legal strategic reasons—neither of which is improper.

   The fact that the Trustee decided to bring this proceeding in Defendants’ home court rather than

   in Delaware, a state with no connection to the facts giving rise to this claim, demonstrates that the

   Trustee was not impermissibly forum shopping as Defendants allege.

             Nevertheless, Defendants make two arguments, based upon inapplicable case law and

   irrelevant facts, that the Plaintiff’s choice of forum is not entitled to any deference. Both are wrong.

   Defendants first incorrectly argue that Plaintiff’s choice of forum should be disregarded because

   it did not file this suit in its home court. (Mot. at 13). This argument makes no sense here because

   the Trustee could not bring this action in its home court of Missouri for want of personal

   jurisdiction. Indeed, in both cases Defendants cite, La Seguridad v. Tansytur Line, and Morrissey



   17
      FTI Consulting, Inc. v. Merit Mgmt. Grp., LP, No. 11 CV 7670, 2014 WL 3858365, at *5 (N.D. Ill. Aug.
   5, 2014); see also Ferens v. John Deere Co., 494 U.S. 516, 528 (1990) (“Section 1404(a), to reiterate, exists
   to make venue convenient and should not allow the defendant to use inconvenience to discourage plaintiffs
   from exercising the opportunities that they already have.”).
   18
        See generally Ferens, 494 U.S. at 528–33.
   19
      United States v. Cinemark USA, Inc., 66 F. Supp. 2d 881, 889 (N.D. Ohio 1999) (citing Ferens, 494 U.S.
   at 528).


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   v. Subaru of America, Inc., the courts emphasized that the plaintiffs could have brought their

   actions in their home courts but chose not to.20

              Furthermore, the La Seguridad court was evaluating a motion to dismiss for forum non

   conveniens, which requires considerations with a different focus than a motion to transfer under

   section 1412. There, a Venezuelan plaintiff brought an action against Venezuelan defendants in

   the Southern District of Florida.21 As the court noted, unlike under section 1412, “the central

   purpose of any forum non conveniens inquiry is to ensure that the trial is convenient.”22 Thus,

   courts grant less deference to a foreign plaintiff’s choice to bring an action outside of their own

   country because the court assumes that bringing the action in its own country, if possible, would

   be more convenient.23 Here, the Trustee is not a foreign plaintiff, it could not have brought this

   action in its home court, and it sued Defendants in their home court. Thus, La Seguridad is both

   factually and legally irrelevant.

              The same is true for Morrissey.24 There the court transferred the case to the district in which

   both the plaintiffs and at least two-thirds of the witnesses resided.25 None of those facts are present

   here. The court also noted that, in contrast to here, none of the events underlying the plaintiffs’

   claims occurred in the district in which the case was filed.26 As such, Morrissey is likewise

   irrelevant.



   20
     La Seguridad v. Tansytur Line, 707 F.2d 1304, 1307 (11th Cir. 1983); Morrissey v. Subaru of America,
   Inc., No. 1:15-CV-21106, 2015 WL 9583278, at *2 (S.D. Fla. Dec. 31, 2015).
   21
        La Seguridad, 707 F.2d at 1306.
   22
        Id. at 1307 (11th Cir. 1983).
   23
        Id.
   24
        2015 WL 9583278, at *2.
   25
        Id.
   26
        Id.

                                                        10
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           Defendants’ second argument regarding Plaintiff’s choice of forum fares no better.

   Specifically, Defendants incorrectly argue that Plaintiff’s choice of forum deserves less deference

   because there are “related cases” pending in another jurisdiction. (Mot. at 13). Defendants,

   however, have not established that there are, in fact, any cases related to this action pending in

   another jurisdiction. (Id.). Defendants merely point to the Bankruptcy Case itself and the fact that

   the Trustee is pursuing other adversary proceedings in Delaware. (Id.). But Defendants do not

   provide any evidence that (1) the allegedly related matters are “substantially the same”; (2) that

   the Delaware Bankruptcy Court is “intimately familiar with the relevant facts and law”; or even

   that (3) that there is a close nexus between the actions such that “a transfer would avoid duplicative

   litigation saving time and expense for both parties and witnesses, [and] . . . avoid potentially

   inconsistent results.”27 Defendants do not offer any such evidence because none exists. Indeed, the

   adversary proceedings currently pending in the Delaware Bankruptcy Court involve different

   claims, material facts, relevant time periods, issues in dispute, parties, and attorneys. In other

   words, they are simply not related.

           In sum, under the circumstances of this case, the Court should grant deference to Plaintiff’s

   choice of forum. As such, this factor weighs heavily against a transfer.

               2. The Remaining “Justice” Factors Do Note Favor a Transfer.

           The remaining factors that are often considered by courts when evaluating whether the

   interests of justice would be served by a transfer either weigh against a transfer or are neutral:




   27
      See, e.g., CCM Pathfinder Pompano Bay, LLC v. Compass Fin. Partners LLC, 396 B.R. 602, 608
   (S.D.N.Y. 2008) (listing factors the court considered to determine whether cases were related in the context
   of a motion to transfer).


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             Local interest in having localized controversies decided at home. This is a fraudulent-

   transfer case whereby The Limited, a company operated out of Ohio, fraudulently transferred funds

   from an account located in this District, to another account located in this District, for the benefit

   of Defendants that were also located in this District.28 No relevant events occurred in Delaware

   and thus, Delaware has no interest in this dispute. In contrast, because many of the material events

   relevant to the Trustee’s claims happened in this District, Florida has a significant interest in

   resolving this dispute, and a significantly greater interest in this dispute than Delaware.29 As such,

   this factor weighs against a transfer.

             Choice of law considerations. Through this action, the Trustee is bringing fraudulent

   transfer claims against Defendants pursuant to 11 U.S.C. § 544(b) and applicable state law. As

   alleged in the Complaint, either the Florida or Ohio Uniform Fraudulent Transfer Act will govern

   this dispute. Ohio was the Debtors’ principal place of business, and as described above, Florida

   was the situs of many of the events material to the Trustee’s causes of action. There is no

   reasonable argument, however, for the application of Delaware fraudulent transfer law. Thus, as

   between Florida and Delaware, this factor weighs in favor of Florida.30

             Availability of a fair trial and the enforceability of any judgment rendered. These factors

   are neutral and do not weigh in favor of either jurisdiction. As such, they do nothing to help

   Defendants’ satisfy their burden on this motion.



   28
        See The Limited Flow of Funds Memorandum (Schwegmann Decl. Ex. A).
   29
     See Klein v. The Bd. of Trs. of the Cal. State Univ. (In re Moriarty), No. 12-22878-MLB, 2014 WL
   6623005, at *5 (Bankr. C.D. Cal. Nov. 20, 2014) (denying a motion to transfer an adversary proceeding to
   the Western District of Washington because the events relevant to the adversary proceeding arose in
   California).
   30
     See A.B. Real Estate, Inc., v. Bruno’s Inc. (In re Bruno’s, Inc.), 227 B.R. 311, 324–25 (Bankr. N.D. Ala.
   1998) (denying a motion to transfer to the District of Delaware where Delaware law did not apply to the
   adversary proceeding).

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              Finally, as explained in detail below, even the factors of estate administration, judicial

   efficiency, and the related general presumption in favor of the home bankruptcy court are at best

   neutral under the specific circumstances of this case.

                 3. Considerations of Judicial Efficiency Do Not Favor a Transfer.

              Even the general presumption in favor of the home bankruptcy court does not weigh in

   favor of transferring this case. While normally there is a presumption that venue is most proper in

   the court in which debtor’s bankruptcy is pending, this factor is not dispositive here.31 Rather, the

   Court must consider both convenience and fairness on a case-by-case basis and in light of the

   efficiencies that might actually be gained through a transfer.32

              Here, the Plan has been confirmed and the Trustee has been charged with the administering

   the estate.33 Defendants have not identified a single case pending before the Delaware Bankruptcy

   Court that shares similar facts, issues, parties, or attorneys, or with which this case could

   conceivably be consolidated. Thus, there is also no risk of inconsistent outcomes of similar cases.

   Defendants have also not identified any rights of any party to the Bankruptcy Case that might be

   affected by this case. Nor have Defendants identified any unique substantive knowledge the

   Delaware Bankruptcy Court has regarding this case. But, even if they had, the benefit of what

   limited knowledge the presiding bankruptcy judge has over any of the facts relevant to this case

   will be lost upon his retirement in August of this year.34 Finally, there are no parties to this case

   that are residents of Delaware, there are no witnesses in Delaware, and thus, no evidence in



   31
        Unico Holdings, Inc. v. Nutramax Prods., Inc., 264 B.R. 779, 783 (Bankr. S.D. Fla. 2001).
   32
        Id.
   33
        See Plan, Art. 6 (Schwegmann Decl. Ex. B).
   34
        See Announcement of Retirement of Hon. Kevin J. Carey (Schwegmann Decl. Ex. C).


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   Delaware. (Mot. at 6–8). When Courts have examined facts similar to these, they have generally

   denied motions to transfer adversary proceedings to the home bankruptcy court.35 Here, as the

   Court in In re Moriarty aptly stated in rejecting a motion to transfer under similar circumstances,

   to the extent judicial economy weighs in favor of a transfer, it does so “based solely on the

   relatively meaningless fact, here, that if transferred, a single court would then be in charge of both

   the bankruptcy and the litigation.”36

             Although judicial efficiencies often favor transferring an adversary proceeding to the home

   bankruptcy court, no such efficiencies would be gained by a transfer under the specific

   circumstances of this case. Indeed, none of the “efficiencies” Defendants have identified, or the

   cases they rely upon, stand up to even modest scrutiny.

             First, Defendants’ reliance on the mere fact that the Trustee commenced “81 adversary

   proceedings” in the Delaware Bankruptcy Court is misplaced. Defendants make no effort to

   explain how those adversary proceedings are related to this case or how transferring this case

   would allow the Delaware Bankruptcy Court to take a “more consolidated approach” to the

   adversary proceedings. (Mot. at 10). Defendants also do not attempt to explain how the Trustee


   35
      See, e.g., In re Moriarty, 2014 WL 6623005, at *2 (denying a motion to transfer to the home bankruptcy
   court in Washington because the adversary proceeding was not “inextricably related” to the bankruptcy
   case, none of the events relevant to the adversary proceeding arose in Washington, the witnesses and
   defendants did not reside in Washington, and the only party with a connection to Washington—the
   bankruptcy trustee—elected to file the adversary proceeding in California); FTI Consulting, Inc. v. Merit
   Mgmt. Grp., LP, No. 11 CV 7670, 2014 WL 3858365, at *1 (N.D. Ill. Aug. 5, 2014) (denying a motion to
   transfer to the home bankruptcy court because it did not have a “strong connection to the material events”
   of the adversary proceeding, it was not familiar with the facts of the adversary proceeding, and there was a
   low risk of inconsistent results from similar cases); In re Bruno’s, Inc., 227 B.R. at 324–25 (denying a
   motion to transfer to the Delaware bankruptcy court because the adversary proceeding would not delay the
   confirmation of a Chapter 11 plan, Delaware’s law did not apply to the adversary proceeding, the Delaware
   court was not familiar with the facts and issues of the adversary proceeding, none of the events relevant to
   the adversary proceeding arose in Delaware, none of the parties or witnesses were located in Delaware, and
   none of the evidence was located in Delaware).
   36
        In re Moriarty, 2014 WL 6623005, at *5.


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   might save any time or expense by litigating this case alongside a set of cases that are based upon

   an entirely unrelated set of facts and parties.37 Instead, Defendants attempt to meet their burden by

   citing several cases for the broad proposition that the existence of a related action in another district

   favors a transfer. (Mot at 10). These cases, however, hardly resemble the facts before this court.

   For instance, in Smartmatic USA Corp. v. Dominion Voting Systems Corp., the Southern District

   of New York transferred a case to the home bankruptcy court in Colorado only after finding that

   “[t]he Colorado federal courts are already presiding over a nearly identical set of claims within the

   bankruptcy proceeding there.”38 Despite citing this case, Defendants have not identified any such

   facts here.

           Similarly, Defendants also cite numerous cases for the broad proposition that the home

   bankruptcy court is the most efficient venue to resolve “related proceedings.” (Mot. at 11). None

   of these cases, however, bear even a passing resemblance to the facts presented here. For instance,

   in Burns v. Grupo Mexico S.A. de C.V., a New York court transferred an adversary proceeding to

   the home bankruptcy court because (1) the adversary proceeding arose “from the same set of

   operative facts and involved the same counsel” as another case pending before that court; (2) the

   two cases were “substantially similar”; (3) “litigating [the cases] in different fora might result in

   conflicting pre-trial rulings”; and (4) “the prospective transferee court ha[d] already spent

   significant time on . . . virtually identical [issues].”39 Defendants have not presented any evidence


   37
     The “81 adversary proceedings” filed in the Bankruptcy Case are garden variety preference cases that are
   typically resolved without any court involvement. Furthermore, none of those cases concern the Transfer
   at the center of this case, they involve entirely different defendants, and concern an entirely different
   relevant time period.
   38
      Smartmatic USA Corp. v. Dominion Voting Systems Corp., No. 13 CIV. 5349 KBF, 2013 WL 5798986,
   at *5 (S.D.N.Y. Oct. 22, 2013).
   39
     Burns v. Grupo Mexico S.A. de C.V., No. 07 CIV. 3496 (WHP), 2007 WL 4046762, at *3 (S.D.N.Y. Nov.
   16, 2007); see also, Alexander v. The Steel Law Firm, P.C. (In re Terry Mfg. Co. Inc.), 323 B.R. 507, 512


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   establishing any of the facts relied upon by the courts in the cases they cite. In other words,

   Defendants have failed to cite any facts or cases that support their argument that transferring this

   case to the Delaware Bankruptcy Court would promote a more efficient resolution of this case.

              Second, Defendants’ reliance on the fact that the Debtors had numerous creditors is also

   unavailing. The creditors are not parties to this dispute, and Defendants have failed to identify any

   role such creditors might play in this case. (Mot. at 11). Nevertheless, in an attempt to buttress

   their misguided argument, Defendants, once again, rely on an irrelevant case. Specifically,

   Defendants cite Commonwealth Oil to argue that bankruptcy proceedings should take place where

   the relevant parties are present. (Mot. at 11).40 But, in Commonwealth Oil the issue was the transfer

   of the entire bankruptcy case—not an adversary proceeding.41 In affirming the lower courts’

   decisions to deny the motion to transfer, the Fifth Circuit explained that “[t]he heart of a Chapter

   XI proceeding is working up a financial plan of arrangement acceptable to all relevant parties.”42




   (Bankr. M.D. Ala. 2005) (refusing to transfer an adversary proceeding out of the home bankruptcy court);
   Giuliano v. CDSI I Holding Co., No. 13-2776, 2014 WL 1032704, at *1, 3 (E.D. Pa. Mar. 17, 2014)
   (transferring case only after deciding that venue as to some claims were not proper but that all claims could
   be venued in the transferee court); Campbell v. Williams, No. 1:14-CV-097, 2015 WL 3657627, at *4 (S.D.
   Tex. June 12, 2015) (transferring the case to South Carolina because “South Carolina law applie[d] to all
   claims in this [adversary] case,” “all of the parties in the case, including the [bankruptcy] Trustee, [we]re
   either residents of South Carolina or have their principle places of business in South Carolina,” and “all
   financial records, data, potential witnesses, and virtually any other type of conceivable ‘necessary proof’
   [was] in South Carolina”); Renaissance Cosmetics, Inc. v. Dev. Specialists Inc., 277 B.R. 5, 11 (S.D.N.Y.
   2002) (transferring a dispute between the debtor and a consulting firm to the bankruptcy court because “the
   Bankruptcy Court was responsible for approving [the debtor’s] continued use of [the consulting firm’s]
   services at the commencement of the Bankruptcy Proceeding” and there was an “apparent inconsistency
   between the allegations in [the adversary] case and [the debtor’s] representations to the Bankruptcy Court
   a few years ago”); Gulf States Exploration Co. v. Manville Forest Prods. Corp. (In re Manville Forest
   Prods. Corp.), 896 F.2d 1384 (2d Cir. 1990) (refusing to transfer a dispute over a proof of claim out of the
   home bankruptcy court where doing so would cause unnecessary delay).
   40
     Commonwealth of P.R. v. Commonwealth Oil Ref. Co., Inc. (In re Commonwealth Oil Ref. Co., Inc.), 596
   F.2d 1239 (5th Cir. 1979).
   41
        Id. a 1241.
   42
        Id. at 1247.

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   Although the creditors may be relevant to the crafting of an acceptable plan, that is not at issue

   here. Moreover, Delaware Bankruptcy Court has already confirmed the Plan. Thus,

   Commonwealth Oil has no bearing on this motion. And, even if it did, Defendants have not

   identified how the creditors are “relevant parties” to this case.

           Finally, Defendants’ “judicial efficiency” arguments based upon the Delaware Bankruptcy

   Court’s familiarity with “the facts surrounding The Limited’s bankruptcy” are similarly

   unsupported. (Mot. at 12). Indeed, Defendants rely entirely on conclusory statements without

   identifying even a single element of the Trustee’s claims about which the Delaware Bankruptcy

   Court has any specific knowledge. Thus, here too, Defendants have failed to meet their burden. In

   fact, the very case upon which Defendants rely illustrates their failure. Indeed, in A.B. Real Estate,

   Inc., v. Bruno’s Inc. (In re Bruno’s, Inc.), the court refused to transfer a case to the home

   bankruptcy court because, as here, “[n]o evidence was presented that the Delaware court has any

   familiarity with the progress of and issues raised in the [adversary proceeding].”43

           In short, Defendants have failed to satisfy their burden on the “interest of justice” prong of

   section 1412 on the only factor that could conceivably support their motion. The fact that the

   Delaware Bankruptcy Court presided over The Limited’s bankruptcy case does not weigh in favor

   of transferring the case, but to the extent it does, it does not outweigh the critical mass of all other

   factors in the analysis.




   43
      227 B.R. 311, 327 (Bankr. N.D. Ala. 1998) (emphasis added). The other case cited by Defendants in
   “support” of their argument provides a contrasting example of situation where—under facts entirely
   different than those presented here—the court transferred a case based upon the familiarity the bankruptcy
   court had with the relevant issues. See Integrated Health Servs. of Cliff Manor, Inc. v. THCI Co., LLC, 417
   F.3d 953, 958 (8th Cir. 2005) (transferring a Missouri action, which involved certain lease obligations, to
   the bankruptcy court because the issues in the Missouri action were “on appeal to the Delaware district
   court” and “[t]he status of the lease obligations [were] contingent on issues pending before the Delaware
   district court”).

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   C.     DEFENDANTS ALSO FAIL TO SATISFY THEIR BURDEN ON THE
          “CONVENIENCE” FACTORS.

          Defendants fail to meet their burden on the convenience prong of the section 1412 analysis.

   Indeed, Defendants admit that a transfer to Delaware would not provide the parties with any easier

   access to the sources of proof in this case. The Trustee is in possession of a significant amount of

   the relevant documents (including thousands of pages of documents received from the Debtors),

   and any additional relevant evidence can be accessed through third-party subpoenas with little to

   no difficulty. To the extent that subpoenas will be necessary in this case, the potential third-party

   witnesses reside in states across the country, except for in Delaware. (Mot. at 7-8). Because none

   of the potential third-party witnesses reside in Delaware or within the subpoena power of a

   Delaware court, a transfer to Delaware would not be more convenient. In contrast, at least some

   witnesses reside in Florida. For example, T. Scott King and Greg Baker, both witnesses identified

   by Defendants, reside in Florida. (Mot. at 7). Furthermore, Sun Capital, the private equity firm that

   owns or controls Defendants, also resides in Florida and will be required to provide both

   documentary evidence and witness testimony in this case.

          Defendants’ arguments to the contrary based upon the number of miles that witnesses

   would have to travel to testify at trial are unavailing. First, Defendants’ painstaking analysis of the

   distances the witness would have to travel to testify in court does not reveal any material difference

   between Florida and Delaware. (Mot. at 14–15). Furthermore, it is far from clear from Defendants’

   analysis that traveling to Delaware, even if it is marginally closer, would either cost less or take

   any less time, on average, than traveling to Florida. Indeed, Wilmington does not have a convenient

   airport, whereas this District has two.

          The location of the parties, however, strongly weighs against a transfer. It is inconceivable

   how Defendants and their representatives would find it more convenient to travel to Delaware to

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   litigate this case. Indeed, Defendants admit that their principal place of business is in Boca Raton,

   Florida, and although they claim to “operate globally,” they have not identified any operations in

   Delaware. (Mot. at 14). Furthermore, although Defendants tout the fact that at least three of them

   were formed in Delaware, they have not cited a single case for the proposition, or even attempted

   to explain why, that fact is in any way relevant to the convenience analysis.44 Simply put,

   Defendants are willing to bear the burden of travel to Delaware because they believe that once the

   case is transferred there, it will gain a litigation advantage. As described above, this is not a proper

   basis to transfer the case, and the Court should not sanction it.

           In summary, because the factors do not weigh in favor of a transfer to the Delaware

   Bankruptcy Court, the Litigation Trustee’s choice of forum should not be disturbed. Defendants

   reside in this District, received the fraudulent transfer in this District, and, accordingly, this case

   should be tried in this District.

                                               CONCLUSION

           In conclusion, for all the reasons stated above, the Trustee respectfully requests that the

   Court deny Defendants’ motion and grant the Trustee any such other relief as the Court deems just

   and proper.




   44
     Defendants have similarly failed to provide any authority for why the Debtors’ creditors would play any
   role in the Court’s convenience analysis. They are not parties to this action and few, if any, will ever be
   called to testify in this case.

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 15, 2019, a copy of the foregoing document is being

   served this day on all parties of record identified below:


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